Use TabCase
        key 1:21-cr-00155-ABJ
            to move from field Document
                               to field on6 this  form.
                                              Filed 02/23/21 Page 1 of 1
NOTICE OF APPEARANCE IN A CRIMINAL CASE



                                   CLERK’S OFFICE
                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
                               WASHINGTON, D.C. 20001


UNITED STATES OF AMERICA


        vs.                                         Criminal Number        1:21-mj-00070

JACOB HILES
            (Defendant)




TO:      ANGELA CAESAR, CLERK

YOU ARE HEREBY NOTIFIED THAT I APPEAR FOR THE DEFENDANT INDICATED
ABOVE IN THE ENTITLED ACTION.


I AM APPEARING IN THIS ACTION AS:              (Please check one)


 9       CJA                9■     RETAINED          9     FEDERAL PUBLIC DEFENDER


                                           /s/ Charles Haskell
                                                                 (Signature)



                                           PLEASE PRINT THE FOLLOWING INFORMATION:


                                          Charles Haskell 888304007
                                                        (Attorney & Bar ID Number)
                                          Law Offices of Charles R. Haskell, Esq.
                                                               (Firm Name)

                                          641 Indiana Ave. NW
                                                             (Street Address)

                                          Washington, DC 20004
                                           (City)                (State)         (Zip)

                                          202-888-2728
                                                           (Telephone Number)
